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STATE OF MINNESOTA _ )
) gs. AFFIDAVIT OF MONTORIE BRIDGES

COUNTY OF HENNEPIN )

1. Your Affiant is a Special Agent with the Bureau of Alcohol,
Tobacco, Firearms, and Explosives (“ATF”), and is thus an investigative or law
enforcement officer of the United States within the meaning of 18 U.S.C.
§ 2510(7) of Title 18 of the United States Code.

2. Your Affiant has been an ATF Special Agent since April of 2023.
Your Affiant is currently assigned to the St. Paul Field Office. In my capacity
as an ATF Special Agent, I have participated in criminal investigations of
individuals and entities related to violations of Federal Laws, particularly
those laws found in United States Code, Titles 18 (firearms), 21 (narcotics),
and 26 (firearms). In addition, Your Affiant works with various law
enforcement agencies and drug task forces throughout the State of Minnesota
that have collectively participated in hundreds of investigations involving
firearms and controlled substances violations.

3. I have completed the 12-week Basic Criminal Investigator’s
Training Program at the Federal Law Enforcement Training Center (FLETC)
in Glynco, Georgia, where I have been trained to investigate criminal matters
under Federal jurisdiction. I have successfully completed courses in criminal

investigations, tactical training in executing searches of persons and premises,
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courses in Federal firearms violations, and other general investigative
matters. I have received significant amounts of training on the subject-matter
within the ATF’s jurisdiction at the approximately 15-week Special Agent
Basic Training academy, including courses in criminal investigations, federal
firearms violations, federal arson laws, and federal explosives laws. Prior to
working for ATF, I attended the Oklahoma Council on Law Enforcement
Education and Training (CLEET) which is approximately a 16-week academy
and worked as a police officer at the Altus Police Department in Altus,
Oklahoma. I received a Bachelor of Science degree in Criminal Justice in May
of 2019 and a Master’s of Public Administration from the University of
Wyoming in Laramie, Wyoming in May 2021.

4. This affidavit is submitted for the limited purpose of establishing
probable cause in support of issuing a complaint and arrest warrant for Hamza
Abdirashiid SAID for unlawfully possessing a machinegun in violation of Title
18, United States Code, Section 922(0)(1) and 924(a)(2).

5. The facts in this affidavit come from my personal observations,
physical surveillance, my training and experience, and information obtained
from other law enforcement agents and witnesses. Because this affidavit is
being submitted for the limited purpose of establishing probable cause in
support of a search warrant, I have not included each and every fact known to

me concerning this investigation. I have set forth only the facts that I believe
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are necessary to establish probable cause.
PROBABLE CAUSE

6. On May 30, 2025, at approximately 8:00 p.m., University of
Minnesota Police (UMPD) responded to a report of a shooting at the Mariucci
Arena on the University of Minnesota Campus. The arena was hosting the
Wayzata High School graduation ceremony at the time of the shooting, with
numerous pedestrians and attendees outside. Officers found a chaotic scene in
which two victims—both attendees of the graduation ceremony—suffered
gunshot wounds. Witnesses reported that the shooter had fled on foot.

7. Victim 1, a 49-year-old male, suffered a gunshot wound to the
head. He was conscious when officers arrived. While receiving aid, he stated
he was outside the arena with his family when he saw a group of males engaged
in a confrontation; he then heard gunshots and was struck as he and his family
attempted to escape the shooting. EMTs transported Victim 1 to Hennepin
County Medical Center where a CT scan revealed that Victim 1 suffered a
fractured skull and a brain bleed.

8. Victim 2, a 19-year-old male, was found by officers in a nearby
vehicle. When officers approached, he reported having a gunshot wound to the
right leg. Victim 2 was uncooperative when asked for information about the
shooting. EMTs likewise transported Victim 2 to Hennepin County Medical

Center for medical treatment.
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9, Several witnesses at the scene reported seeing a male wearing a
black tunic and a black facemask fire several shots, then run from the scene.
Additional witnesses reported seeing the suspected shooter remove some of his
clothing, including a black tunic in the southeast corner of the parking lot of
nearby Williams Arena. Officers found a black facemask discarded nearby and
witnesses reported it was dropped by the shooter.

10. Investigators viewed campus surveillance footage from the area of
the shooting, which showed several males in a verbal altercation. One of the
males, wearing a black tunic, withdrew a handgun and appeared to fire,
causing bystanders to duck and run from the area.

11. Surveillance showed the shooter ran to the southeast corner of the
Williams Arena parking lot, where he appeared to toss something behind a
bush and drop his black sweatshirt, as witnesses described.

12. After discarding his clothing, the shooter left the parking lot
wearing a white tee shirt, grey pants, black sandals, and white socks. Officers
were updated with this description, as well as physical descriptions from
witnesses at the scene. Officers tracked the shooter on live surveillance and
reported that he was now heading northwest on University Avenue SE, with
the white tee shirt on his head. Officers positioned themselves nearby and
observed a male on foot matching the shooter’s physical description, wearing

dark pants, black sandals, and a white tee shirt on his head.
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13. As officers approached, the shooter forcefully threw his cell phone
to the ground in an apparent attempt to damage it and prevent data recovery.
Officers identified the male as Hamza Abdirashiid SAID. Officers observed
several fresh cuts and injuries to his elbows and wrists. SAID was taken into
custody and did not provide a statement.

14. Officers searched the parking lot where SAID was seen discarding
an item and removing his sweatshirt. Witnesses pointed officers to a black
garment on the ground and stated they saw the suspect take it off. Officers
then searched the bush where SAID was seen on surveillance discarding an
item. They recovered a Glock 17 9mm semiautomatic pistol bearing serial
number BEYB199.

15. The Glock was equipped with a machinegun conversion device
(“MCD”), commonly referred to as a “switch” and a high-capacity extended
magazine. Your Affiant knows that MCD’s enable the firearm to be fired as a
fully automatic weapon by a single function of the trigger and thereby convert
the firearm into a “machine gun” as defined by Title 26, United States Code,
Sections 922(0)(1) and 924(a)(2).

16. Based on the information set forth above, there is probable cause
to believe that the Defendant, Hamza Abdirashiid SAID, violated Title 18,
United States Code, Sections 922(0)(1) and 924(a)(2) by unlawfully possessing

a machinegun.
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Further your Affiant sayeth not.

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Bureau of Alcohol, Tobacco, Firearms, and Explosives

SUBSCRIBED and SWORN before me
by reliable electronic means via FaceTime
and email pursuant to Fed. R. Crim. P. 41(d)(8) on

Juin 7. Dooke)

John F. Docherty
UNITED STATES MAGISTRATE JUDGE
DISTRICT OF MINNESOTA

